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                   Exhibit 2
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                                                                       Page 1

1                         UNITED STATES DISTRICT COURT
2                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                             SAN FRANCISCO DIVISION
4       -------------------------------------------------x
5       IN RE GOOGLE PLAY STORE                             Case No.
        ANTITRUST LITIGATION                                3:21-md-02981-JD
6
7       THIS DOCUMENT RELATES TO:
8       Epic Games Inc. v. Google LLC, et al.,
        Case No. 3:20-cv-05671-JD
9
        In re Google Play Consumer Antitrust
10      Litigation, Case No. 3:20-cv-05761-JD
11
        State of Utah, et al. v. Google LLC et al.,
12      Case No. 3:21-cv-05227-JD
13
        Match Group LLC, et al. V. Google LLC et al.,
14      Case No. 3:22-cv-02746-JD
15      -------------------------------------------------x
16
17      ** HIGHLY CONFIDENTIAL - UNDER PROTECTIVE ORDER **
18
19                      REMOTE VIDEOTAPED DEPOSITION OF
20                                  SUNDAR PICHAI
21                         Monday, February 27, 2023
22
23
        REPORTED BY:
24      RENEE HARRIS, CA CSR 14168, NJ CCR, RPR
25

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1                      MR. POMERANTZ:        Objection to the form.
2                      THE WITNESS:       I rarely -- I mean, I don't
3              recall generally specific instances where I
4              have done it recently, so, you know -- but if
5              I -- those are the kind of reasons for which
6              I may do, like something to do with a
7              personal matter or something like that.
8                      (Exhibit 2731 was received and marked
9                      for identification on this date and is
10                     attached hereto.)
11      BY MS. GIULIANELLI:
12             Q.      Okay.    Now, I've marked as Exhibit 2731 a
13      new document.          Is this a copy of some Chats that
14      you were on from what is known as a threaded room
15      that were sent and received October 12th, 2021?
16             A.      What is a threaded room?              I haven't heard
17      that terminology before.
18             Q.      Well, I'm just reading the subject, and
19      it says "MBI-THREADED."
20                     So was this a group chat?
21             A.      I would have -- I mean, I've never seen
22      that particular -- that seems some notification,
23      the system files, it's not in the product that
24      way.        But I would assume it's a group chat or a
25      space or something like that.

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1              Q.   Is this a copy of Chats that you sent and
2       received in October -- October 12th, 2021?
3              A.   It definitely sounds like I'm a member
4       participating in at least somewhat of a chat with
5       one other person.         I don't know whether it's a
6       group chat or not.          Yeah.
7              Q.   And if you go -- there's a few pages in
8       this exhibit.        And the third page of the exhibit,
9       I will represent to you for the record, was
10      produced at the same time.               And it looks, at least
11      to us, like this was the link in the chat and the
12      attachment.       So I've marked it just for purposes
13      of being complete.
14             A.   Okay.     Thank you.
15             Q.   And did you review this chat to refresh
16      your recollection during preparation for the
17      deposition?
18                  MR. POMERANTZ:          I will instruct him not
19             to answer that.         That's not -- that would
20             call for work product.
21      BY MS. GIULIANELLI:
22             Q.   Did you review any documents in
23      preparation for your deposition that refreshed
24      your recollection?
25             A.   Sorry, could you repeat the question

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1       again.
2               Q.   Sure.
3                    In preparation for your deposition, did
4       you review any documents that refreshed your
5       recollection?
6               A.   No, not -- not other than what I saw
7       during that time, yeah.
8               Q.   And do these Chats that -- well, strike
9       that.
10                   Now, here in -- in these Chats, you ask
11      the group if they can change the setting of this
12      group to history off.
13                   Do you see that?
14              A.   I see that in the second line.
15              Q.   And when the setting is changed to
16      history off, the Chat is deleted; right?
17              A.   I haven't done it -- I mean, there's
18      something there, so I can't fully remember what
19      happens.      I think -- I don't know whether
20      subsequent conversations are off the -- I can't
21      fully tell you with certainty how it works.
22              Q.   Now, why did you ask for history to be
23      off in these Chats?
24              A.   I don't recall this interaction at all.
25      Looking at the attached document of Leaders

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1       Circle, and at this point I'm speculating, you
2       know, it might have had something to do with where
3       I was planning to give feedback on who the
4       speakers are or what my perception of, like,
5       somebody's -- so it might have been some personal
6       comments like that.
7              Q.   Now, after you asked for the history off
8       setting to be engaged, am I right that you tried
9       to delete that request that the Chat history be
10      changed to history off?             Right?
11             A.   I definitely don't know.                I don't recall
12      doing something like that.
13             Q.   Yeah.     And see here where it says "also
14      can we change the setting of this group history
15      off," and then there's a mark that says "Deleted,"
16      and then it repeats.
17                  Do you see that?
18             A.   I mean, I see what's in the transcript in
19      front of me, yes, but I don't know what the
20      "Deleted" means.
21             Q.   You don't recall asking for -- your
22      request to change history off to be deleted?
23             A.   Oh, no, I don't recall that.
24             Q.   Do you ever try to keep some more
25      sensitive things off of e-mail?

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1              A.   I mean, if I'm in -- sure, if I'm going
2       to give feedback to some person, I may not choose
3       to do it over e-mail and might choose to prefer to
4       give it to them in person, etc., sure, there are
5       aspects of that.
6              Q.   Have you ever received training at Google
7       to the effect that because Google is constantly in
8       the public eye or a courtroom, that for certain
9       kinds of communications, Chat would be better than
10      e-mail?
11                  MR. POMERANTZ:          Objection to the form.
12                  THE WITNESS:         No.
13      BY MS. GIULIANELLI:
14             Q.   Have you ever received training at Google
15      about how best to communicate given the various
16      demands on Google?
17             A.   At a high level, yes.
18             Q.   And did any of that training say that
19      Chats might be better than -- than e-mail for
20      certain kinds of communications?
21             A.   Not that I recall.
22             Q.   Have you ever had any kind of training
23      called "Communicate with Care"?
24             A.   I've heard of that.              But I think
25      sometimes for these trainings, my general counsel

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1       or someone kind of sits and talks me through.                      So
2       I don't necessarily need to go through that same
3       version of that training.               So I'm not sure I went
4       through that in specific, but I've heard of that.
5              Q.   Okay.     Now, let's talk about Facebook.
6       Facebook is now called Meta Platforms, but if it's
7       all right, for purposes of this deposition, I'll
8       refer to it as Facebook.              Is that okay with you?
9              A.   Yes.
10             Q.   Now, the Facebook app is preloaded on a
11      large number of Android devices?
12             A.   That's my understanding.
13             Q.   And do you know that Facebook has what
14      are known as install packages permissions on many
15      Android devices?
16             A.   That's my understanding.
17             Q.   And the preloaded Facebook app has access
18      to permissions to install or update other apps
19      without triggering Unknown Sources or other
20      warnings; is that right?
21             A.   I'm not sure of all the specifics, but I
22      would say that's probably right, yeah.
23             Q.   Is it also your understanding that those
24      install permissions are not available to apps that
25      are downloaded by a consumer?

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